                            UNITED STATES DISTRICT COURT
            Case 3:20-cv-30086-MGM Document 16 Filed 08/06/21 Page 1 of 2
                                                     for the
                                DISTRICT OF MASSACHUSETTS


           DEBORAH LAUFER

                       v.                             CIVIL ACTION NO:3:20−CV−30086−MGM

        BERKSHIRE RESORTS, LLC.




        STANDING ORDER REGARDING MOTIONS FOR DEFAULT JUDGMENT



    A Notice of Default has been issued to the above named defendant(s) upon request of the
   plaintiff(s) in the above entitled action.

    In anticipation of a Motion for Entry of Default Judgment being filed, counsel are advised of
   the following requirements for submission of such motion in order to ensure compliance with
   Rule 55 of the Federal Rules of Civil Procedure:

   1.      A party making a motion for default judgment shall comply with all the requirements
   ofFed. R. Civ. P. 55 particularly those related to filing of affidavits. The moving party shall also
   submit an appropriate form of default judgment in the fashion of the draft order attached hereto
   as Appendix A. Such compliance shall be completed no later than 14 days after the filing of the
   motion itself;

   2.       Within the 14−day period for compliance by the moving party, the party against
   whomdefault judgment is sought shall have an opportunity to file substantiated opposition to the
   default judgment motion and to request a hearing thereon;

   3.       The Court will take up the motion for default judgment on the papers at the conclusion
   ofthe 14 day period. Should the motion for default judgment at that time fail to comply with Fed.
   R. Civ. P. 55, the motion will be denied with prejudice to any renewal of such motion within six
   months of the denial. Any renewed motion for default judgment may not include a request for
   interest, costs, or attorneys' fees in the matter nor will such relief be granted on any renewed
   motion for default;

   4.      Necessary and appropriate action with respect to this Standing ORDER shall be taken
   by themoving party within 30 days of the date of the issuance of this ORDER. If for any reason
   the moving party cannot take necessary and appropriate action, that party shall file an affidavit
   describing the status of this case and show good cause why necessary and appropriate action
   with respect to this Standing ORDER cannot be taken in a timely fashion and further why this
   case should remain on the docket. Failure to comply with this paragraph will result in the entry
   of dismissal of the moving party's claims for want of prosecution.


                                                                                 By the Court,
                                                                           /s/ − Michael Zamorski
Date: August 6, 2021
                                                                                  Deputy Clerk
                                  APPENDIX
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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS



____________________________________
             Plaintiff(s)

                    v.                                                          CIVIL ACTION NO:

_____________________________________
            Defendant(s)
                                              FORM OF
                                          DEFAULT JUDGMENT
_____________________,




Defendant ___________________ having failed to plead or otherwise defend in this action and its default having
been entered,


 Now, upon application of plaintiff and affidavits demonstrating that defendant owes plaintiff the sum of
$__________________ that defendant is not an infant or incompetent person or in the military service of
the United States, and that plaintiff has incurred costs in the sum of $_____________________.


 It is hereby ORDERED, ADJUDGED AND DECREED that plaintiff recover from defendant
_______________________ the principal amount of $___________________, with costs in the amount of
$______________________ and prejudgment interest at the rate of _____% from _______________ to
______________________ in the amount of $__________________ for a total judgment of $
_____________________ with interest as provided by law.

                                                                                 By the Court,

                                                                        _______________________________
                                                                               DEPUTY CLERK
DATED: August 6, 2021

NOTE: The post judgment interest rate effective this date is _____%.
